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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Securenet Systems Corporation

Petitioner/ Plaintiff Civil Action No.
un PLAINTIFF’S ORIGINAL COMPLAINT
FOR WRIT IN THE NATURE OF
MANDAMUS AND VIOLATION OF
THE ADMINISTRATIVE
PROCEDURES ACT

Pamela Bondi, Attorney General:
Kristi Noem, Director of U.S.
Department of Homeland Security
U.S. Citizenship and Immigration
Services; Federal Bureau of
Investigation
Respondents/Defendants

PLAINTIFF’S ORIGINAL COMPLAINT FOR
WRIT IN THE NATURE OF MANDAMUS AND VIOLATION
OF THE ADMINIATRATIVE PROCEDURES ACT

This action is brought by the Petitioner, Securenet Systems Corporation against the Defendants
to compel the acceptance for filing the Petitioner/ Plaintiffs I-140 immigrant worker petition on
behalf of the Beneficiary Mounika Nalajala, who the Defendants have improperly withheld
processing numerous times to the Plaintiff's detriment.

1.

PARTIES

Background: The Petitioner/Plaintiff, Securenet Systems Corporation (USCIS case number
IOE 0930975636), is a corporation located in Two City Place Drive, 2" Floor, St. Louis
MO, that conducts business throughout the United States including Massachusetts.

Federal Bureau of Investigation/ Defendant

The Respondent/ Defendant, Pamela Bondi, is being sued in her official capacity as the
Attorney General of the United States. In this capacity, she is responsible for the
administration of the immigration laws, pursuant to 8 CFR section 264.5 (b)(7), and she
possesses extensive discretionary powers to grant certain relief to aliens. More specifically,
the Attorney General is responsible for the adjudication and the issuance of Lawful
Permanent Resident Documentation Cards for immigrants pursuant to section 8 CFR
section 264.5 (b)(7) of the Immigration and Nationality Act (“INA”), 8 U.S.C. section
214.2(h). The U.S. Citizenship and Immigration Service is an agency within the Department
of Justice to whom the Attorney General’s supervision.
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4. The Respondents/Defendants, Department of Homeland Security and the U.S. Citizenship
and Immigration Services are the agencies responsible for enforcing the Immigration and
Nationality Act (“INA”) and for adjudication the application filed by the Applicant. The
Department of Homeland Security will be referred to hereinafter as the “DHS” and the U.S.
Citizenship and Immigration Services will be referred to as the “CIS”

JURISDICTION

5. Jurisdiction in this case is proper under 28 U.S.C. sections 1331 and 1361, 5 U.S.C. section
701 et seq., and 28 U.S.C. section 2201 et seq. Relief is requested pursuant to said statutes.

VENUE

1. Venue is proper in this court, pursuant to 28 U.S.C. section 1391 the, in that this is an action
against officers and agencies of the United States in their official capacities, brought in the
district where a Defendant resides and where a substantial part of the events or omissions
giving rise to the Plaintiff's claim occurred. More specifically, the attorney that did the work
on the case that is the subject of this action was, and is, located in Mansfield, Ma, therefore
information received that demonstrates the Plaintiff's action, which are the subject of this
filing, come from CIS offices throughout the United States and Massachusetts.

EXHAUSTION OF REMEDIES

The requisite exhaustion of remedies are demonstrated within the cause of action for the
Mandamus and violation of the Administrative Procedures Act

CAUSE OF ACTION

1. An ETA 9089 Labor Certification was certified in this case on or about July 1, 2021, with
validity dates from July 1, 2021, through December 28, 2021(See exhibit A);

2. Accordingly, the Plaintiff filed an I-140 Petition for Immigrant Worker for the Beneficiary
listed above (See exhibit B- copy of receipt notice demonstrating said filing):

3. The filing of the I-140 was on December 22, 2021, within the listed validity period for said filing;

4. The Plaintiff after not hearing anything about the case for an extended amount of time, looked up the
case status online and found out that the I-140 was denied (See exhibit C);

5. Even after numerous attempts, no denial was ever received:
6. Therefore, the only recourse available was to refile the I-140:

7. An I-140,with ETA-9089 labor and supporting documentation were submitted on January 29, 2025
(which was returned due to the I-140 being filed outside the validity period of the ETA-9089), the
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case was submitted two more time on February 12, 2025, and on March 21, 2025, with the
supporting law and USCIS Memorandum in support of said law (See exhibit D);

The law states that “Validity of the LC— 20 CFR §656.30(b). An LC is no longer valid
indefinitely, and expires if not filed in support of an I-140 petition within 180 calendar days
of the date it was granted by DOL. Mutasa v. USCIS, 531 F.Supp.3d 888 (D.N.J. 2021)
[where applicant filed I-140 with missing page USCIS had the authority to return it; when
petition was resubmitted but beyond the 180-day validity period for the labor certification, I-
140 was properly denied]. LCs granted prior to July 16, 2007 (the effective date of the
regulations), must have been filed no later than 180 days from July 16, 2007. 72 FR 27904
(May 17, 2007). Elim Church of God v. Harris, 722 F.3d 1137 (9th Cir. 2013) [upheld
validity of DOL 180-day regulation and finding it does not have retroactive effect]; Durable
Mfg. Co. v. DOL, 578 F.3d 497 (7th Cir. 2009) [same]. USCIS will continue to accept
copies of the LC, even if expired, if it is filed with an amended or duplicate I-140,
where the original LC was filed in support of a previously filed petition when the LC
was valid. [emphasis added] (formerly) AFM 22.2(b)(3)(F). This exception to the 180-day
validity period of the LC may occur: (1) when an amended or duplicate I-140 is filed; (2)
when a new petition is required due to successor-in-interest; (3) where the petitioning
employer wishes to file a new petition subsequent to the denial, revocation or
abandonment of the previously filed petition and the LC was not invalidated due to
material misrepresentation or fraud; [emphasis added] (4) where the amended petition is
requesting a different visa classification than the previously filed petition; and (5) when
USCIS or DOS determines the I-140 was lost. Id. If the 180th day falls on a Saturday,
Sunday, or federal legal holiday, USCIS will accept the filing on the next business day, ice.,
the next day that is not a Saturday, Sunday, or federal legal holiday. Memo, Neufeld, Acting
Assoc. Director, Domestic Operations, USCIS, HQ 70/6.2, AD 07-26 (Sept. 14, 2009), at 2
AILA Doc. No. 09110465; (formerly) AFM 22.2(b)(3)(F)(ii); 8 CFR §1.2 (defining “day”).
For the LC to be valid the CO must sign the ETA 9089. Albert Einstein Med. Ctr., 2009-
PER-379 to -391, 2009-PER-433, 435-37 (Nov. 21, 2011) (en banc) at p. 23 [where DOL
posted approval on website, but CO had not signed the ETA 9089, it was not certified].
DOL may revoke an LC at any time for fraud or willful misrepresentation, obvious errors or
for grounds or issues associated with the LC process. 69 FR at 77365. Labor certifications
are now electronically issued. An ETA-9089 sent electronically must be printed and then
signed and dated by the foreign worker, the employer and the preparer (if applicable).
Together with the final determination letter, the ETA-9089 must be sent with the I-140 to
USCIS. Electronic Issuance of PERM Certifications Becomes Permanent, reprinted in 97
No. 38 Interpreter Releases Art. 10 (Oct. 5, 2020).”

The Service Center, even though the initial form I-140 Petition for Immigrant Worker was denied, It
was properly filed within the validity period of the original form 9089 Labor Certification (as
demonstrated in exhibits A and B), with no indication of fraud. Therefore, pursuant to the above-
mentioned law, the Service Center has repeatedly, for no valid reason arbitrarily and capriciously
continually rejected the re-filing of the Plaintiffs petition of its employee, which effects not only the
fact that the employee can not move forward towards her lawful permanent residence and making
them a full permanent employee of the Plaintiff, but the Plaintiff is incurring mounting additional
costs from continually having to apply for non-immigrant visas. Further, if the case were actually
accepted and approved, under AC21 of the H-1B portability laws, it would entitle the Plaintiff to file
for longer periods of time as an H-1B saving thousands of dollars in fees.
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CONCLUSION

WHEREFORE, the Plaintiff respectfully prays that this honorable Court enter an order:

1. Requiring the Defendants to accept the Plaintiff's I-140 Petition for adjudication

2. Award the Plaintiff all costs and reasonable attorney fees associated with this matter; and
3. The Court grant such further relief as is just, lawful and equitable under the circumstances.

Respectfully submitted,

/s| S&thD. Uiller

Seth D, Miller, Esquire

Attorney for Plaintiff

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CERTIFICATE OF SERVICE
I, Seth D. Miller, hereby certify that I have served a copy of this document electronically, upon:

U.S. Department of Homeland Security
U.S. Citizenship & Immigration Service
Office of the District Counsel

JFK Federal Building- Rm. 425
Government Center

Boston, MA 02203

U.S. Citizenship and Immigration Services
JFK Building- Room E-160

Government Center

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Attn.: Denis Riordan, District Director

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U.S. Courthouse

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